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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §     CRIMINAL NO. H-07-93
                                               §
                                               §
ERNESTO BALDERAS, et al.                       §

                                         ORDER

       Defendants Roman-Perez and Hurtado filed a motion for continuance, (Docket Entry

Nos. 138 and 139). The government and the remaining co defendants are in agreement. The

court finds that the interests of justice are served by granting this continuance and that those

interests outweigh the interests of the public and the defendants in a speedy trial. The

motions for continuance are GRANTED. The schedule is amended as follows:

Motions regarding discovery issues are to be filed by:     October 22, 2007
Discovery conference to be held:                           October 30, 2007, at 8:30 a.m.
Suppression hearing set for:                               December 3, 2007, at 9:00 a.m.
Motions to are to be filed by:                             December 3, 2007
Responses to be filed by:                                  December 17, 2007
Final pretrial conference set for                          December 21 2007, at 9:00 a.m.
Jury trial and selection set for:                          January 17, 2008, at 9:00 a.m.

              SIGNED on October 16, 2007, at Houston, Texas.


                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      United States District Judge
